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    9                          UNITED STATES DISTRICT COURT
   10                         CENTRAL DISTRICT OF CALIFORNIA
   11
            HOLLY ODD,                                Case No. 2:18-cv-02523-WDK-MRW
   12
                           Plaintiff,
   13
            v.                                        FINDINGS OF FACT AND
   14
                                                      CONCLUSIONS OF LAW AFTER
   15       DELTA AIR LINES, INC., a                  COURT TRIAL
            corporation; DELTA FAMILY-CARE
   16       DISABILITY AND SURVIVORSHIP
   17       PLAN, an ERISA plan; DOES 1
            through 10, inclusive,
   18
                           Defendants.
   19
   20
                                        A.   FINDINGS OF FACT
   21
        1.       The Delta Family Care Disability and Survivorship Plan (“Plan”) is an
   22
                 employee welfare benefit plan subject to the Employee Retirement Income
   23
                 Security Act of 1974, as amended, 29 U.S.C. § 1001 et seq. (“ERISA”) (1943)
   24
                 that is administered in Atlanta, GA (2100).1
   25
   26   1
          The administrative claim file has been jointly lodged with the Court under seal and
   27   is labelled Delta-Odd 000001-1941. A copy of the Plan is filed as Exhibit A to the
   28   Declaration of Connie Schultz, and labelled Delta-Odd 001942-2028. The Summary
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    1   2.    The Plan provides, among other things, short-term and long-term disability
    2         benefits to eligible participants who are Delta Air Lines, Inc. (“Delta”)
    3         employees. (1943).
    4   3.    The Plan provides short-term disability benefits, usually for up to six months,
    5         so long as a Plan participant generally cannot perform their customary
    6         occupation as a result of demonstrable injury or disease as those terms are
    7         defined by the Plan. (1959).
    8   4.    If a participant is still unable to work after exhausting these benefits, she can
    9         then seek long-term disability benefits that are initially available according to
   10         the same substantive standard, as long as she also can show a loss of at least
   11         20% of her earning capacity as measured by the participant’s prior wages. (Id.).
   12   5.    After the first six months of long-term disability eligibility, the Plan states that
   13         to be disabled during this period the claimant must show:
                     the inability of an Employee to perform any Gainful
   14
                     Occupation as a result of a demonstrable injury or disease
   15                (including mental or nervous disorders and occupational
                     injuries and illnesses) or pregnancy.         A Gainful
   16
                     Occupation is an occupation (1) for which the Employee
   17                is, or may become, qualified by reason of education,
   18                training or experience and (2) for which the potential for
                     earnings is expected to be 50% . . . or less of the
   19                Employee’s Pre-Disability Earnings.
   20
        (1959).
   21
        6.    A claimant could elect prior to the onset of a disability to have this 50%
   22
              threshold set at 60%, but Plaintiff did not make this election. (0027, 2045).
   23
        7.    Plaintiff received short-term disability benefits and then long-term disability
   24
   25
        Plan Description is attached as Exhibit B to the Schultz Declaration and is labelled
   26   Delta-Odd 002029-2113 (cites to these documents in this brief are made without
   27   reference to the prefix as it is common to all of them and omits the first two zeros as
        they are never used in the record).
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    1         benefits for more than six months, so the Gainful Occupation Standard could
    2         have been applied to Ms. Odd as early as August of 2016 (0208) (showing
    3         approval for long-term disability benefits for over nine months from February
    4         8, 2016 to November 15, 2016).
    5   8.    The Plan’s administrator is the Administrative Committee of Delta (1990)
    6         which administers to the Plan in Atlanta, Georgia (2100).
    7   9.    Section 12.02(b) of the Plan gives the Administrative Committee:
    8               [t]he discretionary authority to interpret and construe the
    9               terms of the Plan, and decide all questions of eligibility of
                    any employee, Eligible Family Member, or Beneficiary to
   10               participate in the Plan, or to receive benefits under it, its
   11               interpretations and decisions thereof to be final and
                    conclusive.
   12
        (1990).
   13
        10.   The Administrative Committee also has the power to “delegate its power and
   14
              duties as set forth to decide these claims.” (1990-92 (citing Sections 12.02(h)
   15
              and 12.04)).
   16
        11.   The Administrative Committee has delegated decisions regarding the
   17
              continuing qualification for long-term disability benefits to the Plan’s Claims
   18
              Administrator, Sedgwick. (1945 (Section 1.11), 1967 (Section 4.05), 2089,
   19
              2094, 2100).
   20
        12.   If a participant is unhappy with Sedgwick’s decision, the participant can appeal
   21
              that decision. (1982-83).
   22
        13.   The participant is permitted to submit evidence and argument in support of the
   23
              appeal in writing. (Id.).
   24
        14.   If that appeal is unsuccessful, the claimant can seek a second appeal. (1983).
   25
        15.   To the extent that there is any contention that there was a conflict of interest
   26
              that somehow affects the decision, that contention needs to be made in the
   27
              claims process or it is waived. (1984).
   28
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    1   16.   Any long-term disability benefit award under the Plan is subject to offset of
    2         various other benefits or amounts that the participant may receive.              For
    3         example, all of the disability benefits that any participant may receive from the
    4         Social Security Administration are to be offset against any benefit received
    5         under this Plan. (1972).
    6   17.   Further, the participant is required to notify Sedgwick of any third-party claim
    7         that relates to the injury that is the alleged cause of the disability within 31 days
    8         of making the third-party claim. (1989 (incorporates subrogation and right of
    9         recovery terms from the SPD) & 2084 (SPD right of recovery provisions)).
   10   18.   The Plan is entitled to recover from the third-party settlement an amount up to
   11         the amount of benefits provided under the Plan regardless of how Plaintiff may
   12         characterize the terms of that settlement (whether for medical losses, wages
   13         losses or otherwise). (2083).
   14   19.   To the extent a participant does not provide timely notice of such a resolution,
   15         she is subject to complete disqualification from all benefits under the Plan.
   16         (2084).
   17   20.   In the unlikely event that some issue arose under the Plan that was not
   18         preempted by ERISA, Georgia law would apply to all participants. (1996).
   19   21.   The Plan states that all claims will be decided under ERISA as that law would
   20         be applied as if the matter were brought in the jurisdiction of the United States
   21         Court of Appeals for the Eleventh Circuit regardless of where the case is filed.
   22         (1996-97). The Plan is administered by the Administrative Committee within
   23         that jurisdiction. (2100).
   24   22.   The structure of the Plan calls for all of the benefits to be paid out of an
   25         irrevocable trust that is administered by the Administrative Committee, the
   26         named fiduciary for the Plan. (1988 (Section 11.04)). The Plan has separated
   27         the responsibility for the payment of benefits (by the Administrative
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    1         Committee) from the decision on eligibility for benefits (by Sedgwick), thus
    2         eliminating any structural conflict of interest.
    3   23.   Plaintiff was injured in an automobile accident and began a leave from work
    4         on August 8, 2015 (0208).
    5   24.   According to the terms of the Plan, the applicable standard that applied to her
    6         claim changed from the Customary Occupation to the Gainful Occupation
    7         standard on or about August 8, 2016. (1959).
    8   25.   Sedgwick called Plaintiff and explained this change to her personally even
    9         though there is no requirement under ERISA that such a call be made. (1820).
   10   26.   Despite claiming to be seriously injured, Plaintiff did not see her treating
   11         physician for six weeks between September 1, 2015 and October 20, 2015.
   12         (1787). Plaintiff later admitted in May of 2016 that she stopped physical
   13         therapy “a long time ago.” (1820).
   14   27.   Plaintiff claimed that she was disabled due to “upper back/neck pain [and]
   15         headaches.” (0029).
   16   28.   Ms. Odd’s long-term disability benefits under the Plan ultimately were
   17         approved through December 1, 2016 at a rate of $2,686.50 per month. (0027).
   18   29.   The information that Sedgwick had at that time included a physical evaluation
   19         form completed by her own physician, Dr. Ojen Masrour, indicating that
   20         Plaintiff could return to work 6 hours a day, 30 hours a week as of July 29,
   21         2016, but that she would not be able to work without restrictions. (0092-93).
   22   30.   It also included information from Ms. Odd’s chiropractor, Dr. Phillip Lewis,
   23         who indicated on August 12, 2016 that she could return to work up to 40 hours
   24         per week as of January 1, 2017 with some unstated restrictions, and with no
   25         restrictions as of June 1, 2017. (0128-30).
   26   31.   Plaintiff's treating physician, Dr. Masrour, recommended Plaintiff see a pain
   27         management specialist. (1828). Plaintiff, instead, went to see Dr. Lewis, a
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    1         chiropractor. (1883).
    2   32.   In part due to the absence of treatment and the relative lack of information from
    3         her chiropractor (1836), Sedgwick contracted with GENEX Services, LLC to
    4         have Plaintiff seen by a neurologist. (0171).
    5   33.   GENEX selected Dr. Robert J. Shorr on September 29, 2016, a Diplomate in
    6         Neurology of the American Board of Psychiatry and Neurology. (0171-196).
    7   34.   When seen by Dr. Shorr on September 29, 2016, Plaintiff complained of mild
    8         to moderate headaches that did not interfere with her concentration, but were
    9         associated with her neck pain that she also described as mild to moderate.
   10         (0172-74).
   11   35.   Dr. Shorr included two pages of observations in his physical examination and
   12         neurological examination of the Plaintiff (as indicated in part by the
   13         examination of her eyes), that had no remarkable findings. (0178-79).
   14   36.   Dr. Shorr spent an additional six pages reviewing the prior medical records that
   15         had been given to him. After examining Plaintiff, Dr. Shorr concluded that he
   16         could not find any evidence of disability other than her self-reported pain.
   17         (0180-86).
   18   37.   After considering all of this information, Dr. Shorr noted that Plaintiff did self-
   19         report symptoms of headaches, but there were no clinical findings to support
   20         the report of pain, and that she did not have “disabling symptoms or medical
   21         findings preventing her from performing normal job duties.” (0188).
   22   38.   Dr. Shorr concluded that:
   23               All that is required at this time would be observation and
                    a home-based exercise program with range-of-motion and
   24               strengthening and stretching exercise for the neck and
   25               upper back, along with judicious use of over-the-counter
                    non-steroidal and anti-inflammatory medications such as
   26
                    Advil or Aleve. The claimant is not in need of active
   27               treatment at this time.
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    1   (0188).
    2   39.   Even though the applicable standard at the time was the any Gainful
    3         Occupation standard, Dr. Shorr specifically opined that Plaintiff could perform
    4         the job of flight attendant/steward after reviewing the job description for those
    5         duties. (0189).
    6   40.   Dr. Shorr reaffirmed these opinions after receiving additional medical records
    7         following his initial report. (0192-98). Dr. Shorr initially requested a nerve
    8         conduction study, and Sedgwick approved that request within 30 minutes even
    9         though the request was made while the Sedgwick employee who received it
   10         was at lunch. (0597-98 (the parties emailing were in two time zones, 1 hour
   11         offset)). Dr. Shorr did not think the test was significant enough to have Plaintiff
   12         wait for that approval. (Id. at 0597).
   13   41.   Sedgwick received and then sent Dr. Shorr’s report to Dr. Masrour and Dr.
   14         Lewis, who were given 10 days to submit a response if they disagreed with
   15         these findings. (0208).
   16   42.   Neither doctor responded to the IME so Sedgwick proceeded on the assumption
   17         that both doctors were in agreement with Dr. Shorr’s findings. (Id.).
   18   43.   Sedgwick unilaterally extended Plaintiff's long-term disability benefits through
   19         November 30, 2016 so they would not lapse during its review. (1856).
   20   44.   Based on the information at hand, Sedgwick then denied Plaintiff any benefits
   21         after December 1, 2016. (0207).
   22   45.   Sedgwick’s letter set forth the standard for long-term disability benefits and,
   23         following a thorough review of the documents submitted, concluded that the
   24         medical evidence received to date did not support Plaintiff’s inability to
   25         perform her job as a result of her condition. (0207-08). It specifically noted
   26         that:
   27                  Dr. Shorr reviewed the MRI which showed no injuries resulting
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    1                   from the auto accident;
    2                Dr. Shorr noted only mild tenderness in three areas and no
    3                   neurological impairment; and
    4                Dr. Shorr concluded that Plaintiff could return to her job as a flight
    5                   attendant.
    6         (Id. at 0208.)
    7
        46.   If anything, Sedgwick erred in favor of Plaintiff. Even though the applicable
    8
              standard is the Gainful Occupation standard, it found that in light of the medical
    9
              evidence, Plaintiff did not meet the Customary Occupation standard anymore.
   10
              As the Gainful Occupation standard is harder to meet, Plaintiff would have
   11
              failed that one as well. (1959).
   12
        47.   Plaintiff then appealed on December 6, 2016, after securing counsel. (0257).
   13
        48.   On December 6, 2016, Plaintiff's counsel requested the entire claim file and a
   14
              copy of the Plan (0211). Sedgwick sent it to Plaintiff’s counsel on December
   15
              16, 2016 (1864 (receipt) & 1868 (confirmation of shipment) & 0573 (package
   16
              weighed three pounds)). In the ensuing communication, during the appeal,
   17
              Plaintiff’s counsel never asserted any documents were missing. (0551-52, 554,
   18
              559, 560, 562-63, 565, 567-68, 572).
   19
        49.   On January 9, 2016, Sedgwick contacted Plaintiff’s counsel alerting him to the
   20
              fact that the Plan held a lien on the settlement of a tort claim that Plaintiff might
   21
              bring relating to her accident. (0269) (The letter is dated January 9, 2016, but
   22
              was actually sent on January 9, 2017 (1870)). According to the Administrative
   23
              Record, Sedgwick received no response to this letter. (0001-1941).
   24
        50.   On February 2, 2017, the United States Social Security Administration denied
   25
              Plaintiff’s claim for Social Security disability benefits. (0278-82).
   26
        51.   On February 13, 2017, Sedgwick received a copy of this denial from one of its
   27
              vendors. (1873). The denial letter concluded that “her condition is not severe
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    1         enough to be considered disabling.” (0278).
    2   52.   The Social Security Administration also concluded that “[t]he [e]vidence does
    3         not show any other impairment which would significantly restrict her from
    4         performing work-related functions.        Based upon the evidence, we have
    5         concluded that your condition should not limit your ability to work.” (Id.). In
    6         short, the Social Security Administration reached a conclusion similar to
    7         Sedgwick.
    8   53.   Plaintiff tolled the appeal period repeatedly at Plaintiff's counsel's request
    9         (1880) for approximately five months before she submitted a letter from a new
   10         physician, Dr. Leon Barkodar, on May 1, 2017. (0303 & 0305).
   11   54.   The letter, only 9-lines long, includes no medical findings, no reference to any
   12         tests that were performed, and no indication of what work she could not
   13         perform other than simply saying that he does not believe that Ms. Odd can
   14         perform the job of an airline “stewardess.” (0305).
   15   55.   Plaintiff did not state how long Dr. Barkodar’s examination of Plaintiff lasted
   16         nor did she provide this information for any other physician she relied upon.
   17         (0001-0194).
   18   56.   Dr. Barkodar’s opinion relies totally on Plaintiff’s self-report of pain to
   19         substantiate her claim. (Id.).
   20   57.   At the same time, Plaintiff submitted statements of Plaintiff’s family members
   21         (and her significant other) in support of her claim that she was unable to work.
   22         (0306-311). These statements were anecdotal by non-professionals, and not
   23         related to any medical or Plan criteria. (Id.).
   24   58.   After receiving the information submitted, Sedgwick then sought a peer review
   25         of Plaintiff’s records and contracted with Dane Street LLC for such a review.
   26         (0318 & 0328-34).
   27   59.   Dane Street LLC referred the file for examination by Dr. David Hoenig, who
   28
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    1         is Board Certified in Neurology and Pain Management. (0334).
    2   60.   After reviewing all of the documentation provided, the requirements of the
    3         flight attendant position, and unsuccessfully attempting to reach Dr. Barkodar
    4         by phone, in his May 24, 2017 report, Dr. Hoenig acknowledged the self-
    5         reported pain by Plaintiff and Dr. Barkodar’s conclusory opinion, but noted that
    6         there is no clinical evidence supporting Ms. Odd’s complaints or Dr.
    7         Barkodar’s opinion. (0332 & 1893).
    8   61.   Specifically, Dr. Hoenig acknowledged the complaint, but noted that there was:
    9               no clinical documentation submitted for review by her
                    treating neurologist. There is no documentation of neuro-
   10               diagnostic study submitted for review.            There is
   11               documentation of a neurological IME. This independent
                    assessment revealed no neurological deficits, and there are
   12
                    no neurologically based restrictions or limitations.
   13
              (0332).
   14
        62.   In addition, Dr. Hoenig noted that there is no “clinical documentation from any
   15
              treating provider, including a pain management specialist, providing a detailed
   16
              history, and providing a detailed physical examination demonstrating abnormal
   17
              pathology. There is no documentation of any significant diagnostic studies
   18
              submitted for review demonstrating significant abnormal pathology.” (Id.).
   19
        63.   Thus, in the absence of any clinical findings to support the complaints by
   20
              Plaintiff, Dr. Hoenig concluded that Plaintiff was not impaired at all from
   21
              working. (0332-33).
   22
        64.   Following the receipt of this information on May 30, 2017, Sedgwick denied
   23
              Ms. Odd’s appeal because of the relative lack of evidence supporting her claim
   24
              that she could meet the Plan’s standard for long-term disability. (0338-341).
   25
              The letter specifically acknowledged the report of pain. (0339). It also pointed
   26
              out the diagnoses by her neurologist and the various types of documentation
   27
              that could be probative but were missing, including:
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    1                clinical documentation by her treating neurologist; and
    2                documentation of neurodiagnostic studies.
    3         (0339). The letter did note that the neurological IME showed no neurological
    4         deficits, or neurologically based restrictions or limitations (340). It also noted
    5         the absence of the same information Dr. Hoenig found lacking. (Compare 0340
    6         with 0332).
    7
        65.   In summarizing Plaintiff’s further appeal options, and after previously sharing
    8
              what specific types of documents were lacking as noted above, the letter
    9
              advised Plaintiff that if she wished to appeal, she should “state the reason(s)
   10
              you believe your claim was improperly denied.            You may also submit
   11
              additional medical or vocational information, and any facts, data, questions or
   12
              comments you deem appropriate for us to give your Appeal proper
   13
              consideration.” (0340).
   14
        66.   The appeal was handled by a different person. The original claim was handled
   15
              by reviewer "K Marks" and the appeal by Amy Greenwald. (1855, 1864).
   16
        67.   Persuaded by Dr. Hoenig’s conclusion and the lack of new medical information
   17
              provided with the appeal, Sedgwick denied the appeal and noted that Plaintiff
   18
              had the right to a second appeal. (Id.).
   19
        68.   The decision letter also highlighted the relevant terms of the Plan and listed the
   20
              information that was reviewed in making that decision. (0339-40).
   21
        69.   Plaintiff at that time elected a further appeal under the terms of the Plan. The
   22
              consideration of the appeal was tolled four times at Plaintiff's counsel's request.
   23
              (1921).
   24
        70.   On June 5, 2017, Plaintiff asked for a copy of the entire claim file. (0343).
   25
        71.   Six days later, Sedgwick delivered five pounds of documents to Plaintiff’s
   26
              counsel. (0532-33).
   27
        72.   At no time during the second appeal did Plaintiff’s counsel assert he was
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    1         missing any documentation from either his request during the first appeal or
    2         this request. (0350-51, 0506, 0516, 1003-04, 1007-08, 1040, 1055-58, 1062-
    3         63, 1067-69, 1737-38).
    4   73.   Sedgwick had a different reviewer, Richie Marchand, handle the second appeal.
    5         (1980).
    6   74.   On November 14, 2017, Plaintiff submitted information from Dr. Vimal Lala
    7         and a supplemental letter and treatment notes from Dr. Barkodar. (1069).
    8   75.   Dr. Lala did diagnose the various conditions regarding Plaintiff’s back. (1261).
    9   76.   Dr. Lala concluded that Plaintiff could not perform her job or “steady
   10         employment.” (1262).
   11   77.   Dr. Barkodar’s letter included observations of an MRI, but otherwise focused
   12         only on Plaintiff’s self-report of pain. (1763).
   13   78.   Sedgwick contracted again with Dane Street LLC which enlisted two new peer
   14         reviewers: Dr. Leo Lombardo, a pain management specialist, and Dr. Michael
   15         Chilungu, a neurologist, to consider this information. (1751-57 & 1759-66).
   16   79.   Dr. Lombardo’s December 11, 2017 report indicated that there were self-
   17         reports of pain but that they were inconsistent with the underlying pathology.
   18         (1751-57).
   19   80.   Specifically, Dr. Lombardo noted that “since the independent medical
   20         examination by Dr. Shorr, there was no note of interim clinical changes, new
   21         test findings, or other clinical rationale for new work restrictions or
   22         limitations.” (1756).
   23   81.   Dr. Lombardo then addressed the testing performed by Dr. Lala and stated:
   24         “electrodiagnostic testing revealed only mild peripheral neuropathy. Ongoing
   25         complaints of headaches do not correlate with evidence of underlying
   26         pathology that would explain these headaches. The cervical MRI revealed only
   27         mild degenerative changes. The painful complaints are out of proportion to
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    1         mild underlying pathology.” (1756).
    2   82.   Dr. Chilungu’s peer review found that the findings in “the neurological physical
    3         examinations, at their worst, were modest abnormalities that are not likely to
    4         translate into any significant functional impairment.” (1764).
    5   83.   Both Dr. Lombardo and Dr. Chilungu sought to speak with Plaintiff's
    6         physicians before making their decision. (1923-31).
    7   84.   Sedgwick's December 15, 2017 decision recognized the concerns that Dr. Lala,
    8         Dr. Lewis and Dr. Barkodar had, but noted that they were considered non-
    9         impairing by other physicians. Specifically, the letter detailed the findings of
   10         Dr. Lombardo and Dr. Chilungu to that effect.            (1769-70).    The letter
   11         specifically noted the complaints of pain. (1769-70). In denying her claim, the
   12         letter stated that Plaintiff had submitted “insufficient medical evidence” – of
   13         any type, objective or subjective – to substantiate an objective, clinical or
   14         demonstrable basis for disabling conditions that rendered Plaintiff functionally
   15         impaired from performing her customary occupation under the Plan. (1770).
   16         Thus, it did not insist on objective evidence. (1768). This is consistent with
   17         the evidence it relied upon. (1768-70). As a result, Sedgwick concluded that
   18         Plaintiff was not impaired from performing her customary occupation as
   19         defined under the terms of the Plan. (1769-70). Since Plaintiff could not meet
   20         this standard, even though Sedgwick did not have to apply it, she obviously
   21         could not meet the Gainful Occupation standard either. (1959).
   22   85.   Plaintiff did not appear to testify at trial.
   23   86.   Manuel Navarro did not appeal to testify at trial.
   24   87.   No testimony was offered at trial to provide a foundation for, or a basis of
   25         admissibility for, any evidence offered by Plaintiff outside of the administrative
   26         record.
   27
        ///
   28
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    1                            B.     CONCLUSIONS OF LAW
    2   1.    Although Defendants argue the decision by Sedgwick should be considered as
    3         if it were brought in a court in the United States Court of Appeals for the
    4         Eleventh Circuit, Wang Labs v. Kagan, 990 F.2d 1126, 1129 (9th Cir. 1993)
    5         (upholding choice of law provision under ERISA as less burdensome than
    6         forum-selection provision); In re Mathias, 867 F.3d 727, 728 (7th Cir. 2017),
    7         cert denied, 138 S. Ct. 756 (2018) (upholding forum-selection provision under
    8         ERISA); Smith v. Aegon Companies Pension Plan, 769 F.3d 922 (6th Cir.
    9         2014), the Court has indicated it need not do so because the law of the Eleventh
   10         and Ninth Circuits is effectively the same.
   11   2.    The language of the Plan is such that it reserves discretion for Sedgwick, as that
   12         discretion has been delegated by the Administrative Committee, to decide
   13         benefit claims under the Plan, such that the abuse of discretion standard of
   14         review applies to the decisions by Sedgwick under this Plan, including the one
   15         Plaintiff challenges. See Firestone Tire and Rubber Company v. Bruch, 489
   16         U.S. 101, 111 (1989) (citing Central States, Southeast and Southwest Areas
   17         Pension Fund v. Central Transport, Inc., 472 U.S. 559, 568 (1985)); Taft v.
   18         Equitable Life Ass. Soc’y, 9 F.3d 1469, 1471 (n.2 (9th Cir. 1993).
   19   3.    Given the structure of the Plan – that separates the decision maker from the
   20         payor – there is no structural conflict of interest affecting Sedgwick’s decision.
   21         Metropolitan Life Ins. Co. v. Glenn, 554 U.S. 105, 117-18 (2008); Day v.
   22         AT&T, 698 F.3d 1091, 1096 (9th Cir. 2012).
   23   4.    In addition, considering the points that Plaintiff claims show some procedural
   24         irregularity, and the points that Defendants raise including those that show the
   25         additional time Plaintiff was given and that Sedgwick applied a standard more
   26         favorable than was called for, in total, the Court finds that Sedgwick did not act
   27         as a conflicted administrator even if the lack of a structural conflict is put to the
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    1         side.
    2   5.    With the evidence submitted to it in conflict, some of it supporting the decision
    3         by Sedgwick and some of it supporting the Plaintiff’s claim, Sedgwick’s denial
    4         of the final appeal was not an abuse of discretion under the Plan’s Customary
    5         Occupation standard. Jordan v. Northrop Grumman Corp. Welfare Plan, 370
    6         F.3d 869, 880 (9th Cir. 2004) (upholding denial in the face of conflicting
    7         evidence); Jebian v. Hewlett-Packard, 344 F.3d 1098, 1110 (9th Cir. 2003) (on
    8         deferential review, review is limited to the administrative record). While
    9         Plaintiff has claimed that Jordan has been abrogated, it has not been abrogated
   10         on this point, but on how a conflict of interest is assessed.
   11   6.    Because Sedgwick’s decision was not an abuse of discretion, the Court need
   12         not consider whether the benefits should be terminated for failure to comply
   13         with the requirement that Plaintiff report third-party settlements to Sedgwick,
   14         and/or calculation of the potential offsets with respect to her Social Security
   15         benefit eligibility and third-party settlement amount.
   16   7.    Further, for the same reason, the Court need not consider whether Delta did not
   17         act as a Plan Administrator and is therefore not a proper party defendant to an
   18         ERISA benefit claim.
   19   8.    Judgment is entered in favor of Defendants.
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   21         IT IS SO ORDERED.
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   23   Dated: April 23, 2019
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                                               ________________________________
   25                                           WILLIAM D. KELLER
                                                UNITED STATES DISTRICT JUDGE
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